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                         UNITED STATES DISTRICT COURT


                                   DISTRICT OF COLUMBIA


GAME PLAN, INC.,
                                                   Civil Action No. 1:20-cv-00455-DLF
                      Plaintiff,
              v.

UNINTERRUPTED LLC, NIKE INC.,
WALT DISNEY COMPANY d/b/a ESPN,
INC., and TAKE-TWO INTERACTIVE
SOFTWARE, INC.,

                      Defendants.



        PLAINTIFF GAME PLAN, INC.’S OPPOSITION TO DEFENDANTS
    UNINTERRUPTED LLC, WALT DISNEY COMPANY, AND TAKE-TWO
        INTERACTIVE SOFTWARE, INC.’S MOTION TO VACATE

       In opposition to Defendants Uninterrupted LLC (“Uninterrupted”), The Walt Disney

Company (“ESPN”), and Take-two Interactive Software, Inc. (“T2”) (collectively “Defendants”)

motion to vacate, the Plaintiff, Game Plan, Inc.’s moves this court to deny the Defendants’

motion as set forth in the accompanying Statement of Points and Authorities. A proposed order

to deny the Defendants’ motion is attached for the convenience of the Court.




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Dated: June 11, 2020                 Respectfully,

                                     By: /s/ Ryan L. Jones
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